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UNITED STATES COURT OF APPEALS
FOR THE
SECOND CIRCUIT

At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
6" day of November, two thousand twenty-four.

Before: William J. Nardini,
Circuit Judge.

Federal Trade Commission,
ORDER
Plaintiff - Appellee,
Docket No. 24-2848
V.
Tapestry, Inc., Capri Holdings Limited,
Defendants - Appellants,
V.

Cole Haan LLC,

Respondent.

Appellants move for an expedited appeal and propose the following briefing schedule:
Appellants’ opening brief due November 20, 2024; Appellee’s response brief due December 20,
2024; Appellants’ reply brief due December 30, 2024.

IT IS HEREBY ORDERED that the motion for an expedited appeal is GRANTED. The
proposed briefing schedule is SO ORDERED. The appeal shall be heard as soon as practicable
following completion of briefing.

For the Court:
Catherine O’ Hagan Wolfe,
Clerk of Court

